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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WISCONSIN

RED CLIFF BAND OF LAKE SUPERIOR CHIPPEWA
INDIANS OF WISCONSIN, a federally recognized
Indian tribe, on its own behalf and as parens patriae for
its members,

BAD RIVER BAND OF THE LAKE SUPERIOR
TRIBE OF CHIPPEWA INDIANS OF THE BAD
RIVER RESERVATION, a federally recognized Indian             Civil Case No.: 3:21-cv-00597
tribe, on its own behalf and as parens patriae for its
members,                                                     PLAINTIFFS’ MOTION FOR
                                                                 A PRELIMINARY
LAC COURTE OREILLES BAND OF LAKE                            INJUNCTION PURSUANT TO
SUPERIOR CHIPPEWA INDIANS OF WISCONSIN, a                        FED. R. CIV. P. 65
federally recognized Indian tribe, on its own behalf and
as parens patriae for its members,

LAC DU FLAMBEAU BAND OF LAKE SUPERIOR
CHIPPEWA INDIANS OF THE LAC DU FLAMBEAU
RESERVATION OF WISCONSIN, a federally
recognized Indian tribe, on its own behalf and as parens
patriae for its members,

ST. CROIX CHIPPEWA INDIANS OF WISCONSIN, a
federally recognized Indian tribe, on its own behalf and
as parens patriae for its members, and

SOKAOGON CHIPPEWA COMMUNITY, a federally
recognized Indian tribe, on its own behalf and as parens
patriae for its members,

Plaintiffs,

-v.-

PRESTON D. COLE, in his official capacity as the
Secretary of the Wisconsin Department of Natural
Resources,

DR. FREDERICK PREHN, in his official capacity as a
person who claims to be, and is acting as, both the Chair
and a member of the Wisconsin Natural Resources
Board,



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 GREGORY KAZMIERSKI, in his official capacity as
 the Vice Chair and a member of the Wisconsin Natural
 Resources Board,

 BILL SMITH, in his official capacity as the Secretary
 and a member of the Wisconsin Natural Resources
 Board,

 SHARON ADAMS, in her official capacity as a member
 of the Wisconsin Natural Resources Board,

 WILLIAM BRUINS, in his official capacity as a member
 of the Wisconsin Natural Resources Board,

 TERRY HILGENBERG, in his official capacity as a
 member of the Wisconsin Natural Resources Board,

 MARCY WEST, in her official capacity as a member of
 the Wisconsin Natural Resources Board,

 Defendants.


               PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

        Pursuant to Federal Rule of Civil Procedure 65(a), Plaintiffs Red Cliff Band of Lake

Superior Chippewa Indians of Wisconsin, Bad River Band of the Lake Superior Tribe of

Chippewa Indians of the Bad River Reservation, Lac Courte Oreilles Band of Lake Superior

Chippewa Indians of Wisconsin, Lac du Flambeau Band of Lake Superior Chippewa Indians of

the Lac du Flambeau Reservation of Wisconsin, St. Croix Chippewa Indians of Wisconsin, and

Sokaogon Chippewa Community (collectively, “Plaintiffs” or the “Ojibwe Tribes”), through

their undersigned counsel, hereby respectfully move this Court to preliminarily enjoin

Defendants from issuing licenses for and holding the wolf hunt scheduled to begin November 6,

2021.

        In their quota-setting and management of wolf hunts, including the wolf hunt scheduled

to begin on November 6, Defendants have violated, and threaten to continue to violate, the

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Ojibwe Tribes’ fundamental rights protected by the Treaty with the Chippewa, July 29, 1837, 7

Stat. 536 (“1837 Treaty”), Art. 5, and the Treaty with the Chippewa, October 4, 1842, 7 Stat. 591

(“1842 Treaty”), Art. II. See also U.S. Const. art. VI, § 2 (“Treaties . . . shall be the supreme Law

of the Land.”); Lac Courte Oreilles Band of Lake Superior Chippewa Indians v. Voigt, 700 F.2d

341, 344-45 (7th Cir. 1983) (affirming the continued existence of the Ojibwe Tribes’ treaty rights

throughout their off-reservation ceded territory in Wisconsin).

       The basis for the requested injunction is set forth in the accompanying memorandum in

support, Plaintiffs’ proposed findings of fact, and the declarations of Christopher Clark, Marvin

DeFoe, Andrew Edwards, Adrian P. Wydeven, Brian Bisonette, John Johnson, Sr., Robert

VanZile, Mike Wiggins, and Conrad St. John all of which are filed contemporaneously herewith.

As these materials demonstrate, Plaintiffs are likely to succeed on the merits, injunctive relief is

necessary to prevent irreparable harm, and the balance of harms and public interest support

issuance of an injunction. Accordingly, this Court should enter an injunction prohibiting

Defendants from issuing licenses for and conducting the wolf-hunting season that is scheduled to

commence in November.

       Plaintiffs have provided notice of this motion to the Defendants. On September 29, 2021,

Plaintiffs’ counsel advised Defendants’ counsel of their intention to file this motion. Plaintiffs

will provide actual notice to Defendants’ counsel upon filing of this motion and will serve

Defendants with this motion and all supporting materials by email immediately upon filing.

       Because the wolf-hunting season is little more than a month away, Plaintiffs request that

the Court order expedited response briefing concerning this motion. Plaintiffs request that the

Court order any response briefs filed by no later than October 15, 2021. Plaintiffs further request




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that the Court schedule a hearing and issue a ruling on this motion before the scheduled

commencement of hunting on November 6, 2021.

       Respectfully submitted this 1st day of October 2021.

                                                    s/ Christopher Clark
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